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 1 KENDALL BRILL & KELLY LLP
   Janet I. Levine (94255)
 2   jlevine@kbkfirm.com
   Sarah E. Moses (291491)
 3   smoses@kbkfirm.com
   10100 Santa Monica Blvd., Suite 1725
 4 Los Angeles, California 90067
   Telephone: 310.556.2700
 5 Facsimile: 310.556.2705
 6 Attorneys for Defendant
   Mitchell Englander
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 8
                          UNITED STATES DISTRICT COURT
 9
          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10
11
     UNITED STATES OF AMERICA,                 Case No. CR 20-35-JFW
12
                 Plaintiff,                    DEFENDANT MITCHELL
13                                             ENGLANDER’S POSITION
          v.                                   REGARDING SENTENCING
14
     MITCHELL ENGLANDER,                       Filed Concurrently with Declaration of
15                                             Janet I. Levine and Exhibits
                 Defendant.
16                                             Judge:    John F. Walter
                                               Date:     January 25, 2021
17                                             Time:     8:00 a.m.
                                               Crtrm.:   7A
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          PROPOSED TO BE FILED UNDER SEAL
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 1                      POSITION REGARDING SENTENCING
 2 I.     INTRODUCTION
 3        Mitchell Englander, the sole defendant in a stand-alone “false statements”
 4 case, will appear before this Court on January 25, 2021 to be sentenced on his one-
 5 count plea of violating 18 U.S.C. § 1001. As evidenced by his guilty plea and his
 6 letter to this Court, Mr. Englander has fully accepted responsibility for his
 7 misconduct. Mr. Englander’s conduct here is completely at odds with his lifetime of
 8 public service and law-abiding behavior.
 9        The United States Probation Department, in the Presentence Investigation
10 Report (“PSR”) and its sentencing recommendation, recognizing Mr. Englander’s
11 life history and his acceptance of responsibility, recommends a sentence of
12 probation, with a fine of $9,500, concluding that the “recommended sentence is
13 sufficient, but not greater than necessary, to comply with the purposes set forth in 18
14 U.S.C. § 3553(a)(2).”
15        For the reasons set forth in the PSR and herein, including the nature and
16 circumstances of Mr. Englander’s offense, Mr. Englander’s character and life
17 history, and the objectives and purposes of sentencing, probation and a fine is the
18 appropriate and just sentence.
19 II.    PROCEDURAL POSTURE
20        In or around the late summer/early fall of 2017, Mitchell Englander was asked
21 by federal law enforcement officers to voluntarily interview in connection with an
22 ongoing federal investigation. Mr. Englander was not the target of the investigation.
23 It is now apparent that the investigation was focused on allegations of bribery in Los
24 Angeles City politics, particularly targeting former Councilman Jose Huizar.1
25
26
27        1
          See United States v. Huizar, et al., Case No. 2:20-CR-326-JFW (C.D. Cal.),
28 Dkt. Nos. 36 (indictment) & 74 (first superseding indictment).

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 1        On October 19, 2017, Mr. Englander appeared at the United States Attorney’s
 2 Office (“USAO”) for the voluntary interview. The interview was conducted over
 3 three sessions. All three sessions were led by Assistant United States Attorney
 4 Mack Jenkins, the head of the USAO’s public corruption section. All three sessions
 5 were conducted under the same proffer agreement. See Declaration of Janet I.
 6 Levine in Support of Defendant Mitchell Englander’s Position Regarding
 7 Sentencing (“Levine Decl.”) ¶¶ 2-3. Before the first session, AUSA Jenkins advised
 8 counsel for Mr. Englander that Mr. Englander was viewed as a “witness” or a
 9 “subject” of the investigation; not a “target.” Id. ¶ 5. Mr. Englander’s sessions were
10 conducted on October 19, 2017, February 7, 2018, and December 31, 2018. Mr.
11 Englander was obligated by statute and by the proffer agreement, as well as by the
12 cannons of citizenship, to be truthful in the interview. He was not.2 Instead, as set
13 forth herein, when asked about events that were personally embarrassing, although
14 not federal crimes, Mr. Englander was not truthful. Significantly, the government
15 never alleged any federal crime from the June 2017 actions that were the subject of
16 the misstatements.
17        On January 16, 2020, Mr. Englander was indicted for violating 18 U.S.C. §§
18 1001 and 1512, based on false statements made during the interview sessions. The
19 indictment was sealed and Mr. Englander was not made aware of it until March 6,
20 2020, when AUSA Jenkins advised Mr. Englander through counsel of the pending
21 charges. Mr. Englander surrendered the next court day.
22
23
24
25
          2
26         As set forth below, Mr. Englander’s false statements were intended to shield
   him from personal shame, public scorn, and embarrassment for his inappropriate
27 actions, but were not intertwined with the bribery allegations in the Huizar charging
28 documents, or indeed with any bribery allegations.

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 1        Mr. Englander appeared in court on March 9, 2020 to be arraigned. He was
 2 released on a signature bond that day. The case received substantial media
 3 attention.3
 4        Mr. Englander’s first appearance before this Court was on March 12, 2020,
 5 for a trial setting conference.
 6        On March 25, 2020, just weeks after Mr. Englander first appeared, he signed
 7 a plea agreement, agreeing to plead guilty to Count 1, alleging a violation of 18
 8 U.S.C. § 1001. Dkt. No. 24. The government agreed to dismiss all § 1512 counts
 9 (and all other counts).
10        The plea agreement contained a detailed statements of facts, negotiated by the
11 parties. Specifically, the factual statement did not reference “obstruction” or
12 “witness tampering” and did not assert that Mr. Englander’s actions were intended
13 to cover up a federal offense.
14        The actual entry of the plea was delayed at defense counsel’s request, so
15 defense counsel could better understand the Department of Justice’s novel position
16 on the elements of § 1001 as presented by Attorney General Barr in connection with
17 United States v. Flynn, Case No. 1:17-CR-232 (D.D.C.), a false statement case, and
18 to determine if the Department of Justice’s odd and novel reading of § 1001
19 impacted the instant case. See Dkt. Nos. 28 & 29.4
20
          3
           See, e.g., Joel Rubin & Emily Alpert Reyes, Ex-L.A. Councilman Englander
21 charged with obstruction in probe alleging lavish spending and escorts, L.A. Times,
22 Mar. 9, 2020, available at https://lat.ms/2XqIKYL; Olga Grigoryants & Ryan
   Carter, Ex-LA City Councilman Mitchell Englander arrested by FBI agents, L.A.
23 Daily News, Mar. 9, 2020, available at https://bit.ly/35pd2zC; Andrew Blankstein
24 & Eric Leonard, Former LA Councilman Pleads Not Guilty to Charges He Lied to
   FBI During Probe, NBC News, Mar. 9, 2020, available at https://bit.ly/3qdVFKh.
25
         4
26         See, e.g., Catherine Herridge, Attorney General William Barr on Michael
   Flynn, Obamacare and Coronavirus restrictions – Transcript, CBS News, May 7,
27 2020, available at https://cbsn.ws/35sMHAM; Charlie Savage, ‘Never Seen
28 Anything Like This’: Experts Question Dropping of Flynn Prosecution, N.Y. Times,

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 1         On July 7, 2020, Mr. Englander pled guilty5 to violating 18 U.S.C. § 1001.
 2 The plea received media coverage.6
 3         Sentencing is set for January 25, 2021.
 4 III.    THE PLEA AND PLEA AGREEMENT
 5         The instant plea agreement—in the context of “contemporary” plea
 6 agreements—is straightforward. Mr. Englander agreed to plead guilty to Count 1,
 7 making false statements in violation of 18 U.S.C. § 1001. The government agreed it
 8 would dismiss all other counts at sentencing. Mr. Englander agreed not to contest
 9 the factual basis in the plea agreement. The plea agreement did not adopt the facts
10 contained in the indictment, but instead contained a carefully negotiated, mutually
11 agreed upon statement of facts. Both parties are permitted to amplify on the factual
12 basis. Specifically:
13              There is no agreement as to the applicable guideline level;
14              Except for the U.S.S.G. § 3E1.1 adjustment for acceptance of
                 responsibility, there is no agreement to any guideline adjustment or
15               departure or variance;
16              The government is free to argue for any sentence up to 36 months;
                Mr. Englander is free to argue for any sentence, including probation;
17              There is an appellate waiver which provides only a limited right to
18               appeal.
19
20
21 May 7, 2020, available at https://nyti.ms/3sc1n0K.
           5
22          Mr. Englander was accompanied to Court by his wife and adult daughters.
     They have been subject to media and social media attention.
23
           6
24           See, e.g., David Zahniser, Dakota Smith & Joel Rubin, Former L.A.
     Councilman Mitchell Englander to plead guilty in corruption case, L.A. Times,
25   Mar. 27, 2020, available at https://lat.ms/38xPJFP; City News Service, Former LA
26   Councilman Mitchell Englander Agrees to Plead Guilty, NBC News, Mar. 27, 2020,
     available at https://bit.ly/2Lch5sp; Mitch Englander To Plead Guilty To Obstructing
27   Federal Public Corruption Investigation, CBS Los Angeles, Mar. 27, 2020,
28   available at https://cbsloc.al/35sxob7.

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  1         The offense to which Mr. Englander pled carries a maximum sentence of five
  2 (5) years; there is no prohibition on a probationary sentence.
  3 IV.     OBJECTIONS, CORRECTIONS, AND ADDITIONS TO THE
  4         PRESENTENCE INVESTIGATION REPORT
  5         Mr. Englander agrees with the Presentence Investigation Report’s analysis
  6 and conclusions. He has two minor corrections: (1) Paragraph 68 of the PSR
  7 indicates that Mr. Englander’s childhood and long-time friend, Mark Hunter, resides
  8 in New York; Dr. Hunter actually resides in Missouri; and (2) Paragraph 98
  9 indicates that Mr. Englander’s home sale occurred “several” years ago; it was
 10 actually in 2019.
 11 V.     GUIDELINE ANALYSIS
 12         A.     The Presentence Investigation Report
 13         The PSR determines that U.S.S.G. § 2B1.1 applies to the violation of 18
 14 U.S.C. § 1001 here; § 2B1.1 has a base offense level of six (6). PSR ¶ 41.
 15 Specifically, the PSR finds that no enhancements are appropriate because the
 16 offense did not involve financial loss; thus, the PSR does not apply the enhancement
 17 under § 2B1.1(b)(1). Id. ¶ 42. And because § 1001 “sufficiently captures” Mr.
 18 Englander’s conduct, the PSR concludes that no other guideline is applicable. Id. ¶¶
 19 43-44. The PSR does not apply any other enhancements or adjustments, concluding
 20 that Mr. Englander did not use a position of public trust to facilitate or conceal his
 21 offense under § 3B1.3 and did not obstruct the “investigation, prosecution, or
 22 sentencing of the instant offense of conviction” under § 3C1.1. Id. ¶¶ 45-50. The
 23 PSR applies a two-level downward adjustment for “clearly demonstrat[ing]
 24 acceptance of responsibility for the offense” under § 3E1.1(a). This results in an
 25 offense level of four (4). Id. ¶¶ 51-52.
 26         B.     Mr. Englander’s Guideline Position
 27         Mr. Englander agrees with the analysis in the PSR. Mr. Englander pled to
 28 violating 18 U.S.C. § 1001, making a false statement. Mr. Englander’s underlying

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  1 conduct is not alleged to have violated any federal laws,7 and he is not alleged to
  2 have made false statements to conceal that others violated federal laws; his false
  3 statements were designed to hide his own actions, which while embarrassing, also
  4 did not violate federal laws.
  5         The sentencing guidelines apply § 2B1.1 to most “1001” violations. See
  6 Commentary, Statutory Provisions, § 2B1.1. Indeed, United States Attorney’s
  7 Offices in this District and elsewhere have continually applied § 2B1.1 to false
  8 statement offenses. See, e.g., Flynn, supra, Dkt. No. 3; see also United States v.
  9 Dredd, Case No. 2:15-CR-569-DSF (C.D. Cal.), Dkt. No. 311.8 See also Defendant
 10 Mitchell Englander’s Response to Government’s Objections to Presentence
 11 Investigation Report (hereinafter “Response”).
 12         The sentencing guidelines have one exception to applying § 2B1.1 to false
 13 statement cases; as set forth in the Commentary to U.S.S.G § 2J1.2, instead of §
 14 2B1.1, § 2J1.2 (obstruction of justice), applies to “1001” cases “when the statutory
 15
            7
 16           Mr. Englander’s plea agreement does not suggest that Mr. Englander was
      involved in any bribery. The Factual Basis to the plea agreement acknowledges that
 17   Mr. Englander accepted $15,000 from Businessperson A, but this is not a federal
 18   crime. In McDonnell v. United States, 136 S. Ct. 2355, 2371-72 (2016), the
      Supreme Court held that federal bribery requires a quid pro quo with an “official
 19   act” that “involve[s] a formal exercise of governmental power.” The act must be
 20   “something specific and focused that is ‘pending’ or ‘may by law be brought’ before
      a public official [and] the public official must make a decision or take an action . . .
 21   or agree to do so” with regard to that exercise of power. Notably, “[s]etting up a
 22   meeting, talking to another official, or organizing an event (or agreeing to do so)—
      without more—does not fit that definition of ‘official act.’” Id.
 23
            8
 24           In United States v. Dredd, a recent “1001” case in this District prosecuted by
      AUSA Dragalin and involving the USAO’s public corruption unit, the government’s
 25   sentencing position (filed by AUSA Dragalin) argued that § 2B1.1 applied to a
 26   defendant who was a deputy sheriff convicted of a false statement offense, who lied
      to the FBI, and prepared false documents to conceal a civil rights offense against a
 27   person being held in Los Angeles County custody. See also United States v. Dredd,
 28   Case No. 19-50220, 2020 WL 6281513 (9th Cir. Oct. 27, 2020).

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  1 maximum term of eight years’ imprisonment applies because the matter relates to
  2 international terrorism or domestic terrorism, or to sex offenses . . .” This exception
  3 does not apply in the instant case as this is not a terrorism or sex case with an eight-
  4 year statutory maximum. See also U.S.S.G Appendix A, 18 U.S.C. §1001 (“2B1.1,
  5 2J1.2 (when the statutory maximum term of eight years’ imprisonment applies . .
  6 .”)). In fact, the false statement offense to which Mr. Englander pled guilty has a
  7 five-year statutory maximum and does not allege a sex offense or terrorism; thus the
  8 appropriate base offense level is provided by § 2B1.1.9
  9         Under § 2B1.1, the base offense level is six (6). PSR ¶ 41; U.S.S.G. §
 10 2B1.1(a)(2). No other adjustments or enhancements are applicable. PSR ¶¶ 45-50.
 11 After the reduction for acceptance of responsibility, the adjusted offense level, as
 12 calculated in the PSR, is four (4). Id. ¶¶ 51, 52.
 13
 14
 15         9
               Contrary to the government’s argument and its Objections, Mr. Englander
 16   has not stipulated to a more serious offense than the offense of conviction. See PSR
      ¶ 41 n.1 (concluding that “although USSG §1B1.2(a) allows for the application of
 17   another guideline when the plea agreement contains a stipulation that specifically
 18   establishes a more serious offense than the offense of conviction, the Probation
      Officer does not agree that the plea agreement contains the requisite stipulation.”).
 19   Specifically, Mr. Englander did not agree to a violation of 18 U.S.C. § 1512 or to
 20   facts that constitute such an offense. In fact, the factual statement to the plea
      agreement does not use either the term “witness tampering” or the word
 21   “obstruction.” And the government, despite having charged such an offense in the
 22   indictment, did not insist on including that charge in its plea agreement. Had the
      government been able to prove a § 1512 violation, policy directed them to pursue
 23   the § 1512 charge. See Memorandum For All Federal Prosecutors, Department
 24   Charging and Sentencing Policy, Office of the Attorney General, May 10, 2017,
      available at https://www.justice.gov/opa/press-release/file/965896/download
 25   (directing prosecutors to “charge and pursue the most serious, readily provable
 26   offense,” i.e., “those that carry the most substantial guidelines sentence”) (emphasis
      added). This is fully addressed in Mr. Englander’s Response to the Governments’
 27   Objections to the Presentence Investigation Report filed contemporaneously with
 28   this position paper and incorporated by reference herein.

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  1                                  Base Offense Level                6
  2                                  Acceptance of Responsibility    - 2
  3                                  Adjusted Offense Level            4
  4        Mr. Englander has no prior criminal convictions and is criminal history
  5 Category I; the Guideline range is 0-6 months. Id. ¶¶ 57, 103.
  6        C.     The Government’s Guideline Analysis is Flawed
  7        On January 4, 2021, the government filed its Objections to Presentence
  8 Investigation Report for Defendant Mitchell Englander, setting forth its
  9 disagreement with the PSR’s guidelines analysis and instead suggesting the matter
 10 should be governed by U.S.S.G. § 2J1.2 and, with enhancements, should result in an
 11 adjusted guideline level of 15. In a concurrently filed Response to that document,
 12 Mr. Englander establishes that the government’s analysis is flawed, and without
 13 legal or factual support. Mr. Englander’s Response, by focusing on the guidelines
 14 themselves, and the plea agreement and facts stipulated therein, debunks the
 15 government’s claim that § 2J1.2 applies here. The Response also shows that the
 16 enhancements urged by the government lack factual and legal support. The
 17 Response is incorporated by reference herein.
 18 VI.    A SENTENCE OF PROBATION IS THE JUST AND APPROPRIATE
 19        SENTENCE
 20        A.     Legal Standard
 21        In determining Mr. Englander’s sentence, the Court considers a broad range
 22 of statutory sentencing factors, along with the advisory guidelines. United States v.
 23 Booker, 543 U.S. 220, 245-46 (2005); 18 U.S.C. § 3553(a) (“the 3553” factors).
 24 The Court must impose a sentence “sufficient, but not greater than necessary” to
 25 achieve the objectives of sentencing. See United States v. Carty, 520 F.3d 984, 991
 26 (9th Cir. 2008) (en banc) (citing 18 U.S.C. § 3553(a) and (a)(2)). The “3553”
 27 factors include “the history and characteristics of the defendant” (18 U.S.C. §
 28 3553(a)(1)); “the nature and circumstances of the offense” (id.); the “need to avoid

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  1 unwarranted sentence disparities” (id. § 3553(a)(6)); the need to “reflect the
  2 seriousness of the offense,” “provide just punishment,” “protect the public,” and
  3 provide “adequate deterrence” (id. § 3553(a)(2)(A)-(C)); and the need to “promote
  4 respect for the law.” Id. § 3553(a)(2)(A). An analysis of these factors here
  5 establishes without question that a probation sentence is “sufficient, but not greater
  6 than necessary” in that it provides just punishment, protects the public, provides
  7 adequate deterrence, and promotes respect for the law.10
  8        B.     Nature and Circumstances of the Instant False Statement Offense
  9               1.    Overview
 10        Mr. Englander appeared in Court in July 2020, pleading guilty to making
 11 false statements in violation of 18 U.S.C. § 1001 and accepting responsibility for his
 12 conduct. The plea agreement contained a detailed factual basis; that factual basis
 13 was read in Court by AUSA Jenkins at the entry of the plea. In his letter to this
 14 Court, Mr. Englander candidly admits: “I made false statements to the FBI . . . I
 15 alone am responsible for my actions and there is nothing I regret more in my life.”
 16 Englander Letter, Ex. A.
 17        The PSR accurately describes the false statement offense. Details provided
 18 by the USAO in discovery further set forth the circumstances of the offense.
 19        Mr. Englander’s offense involves false statements made by Mr. Englander
 20 about his interactions with Businessperson A that occurred over an approximately
 21 twelve-day period in June 2017. PSR ¶¶ 6-36. These interactions occurred on a trip
 22 to Las Vegas and at a charity golf tournament at the Morongo Casino and Resort in
 23 Palm Springs. This twelve-day period provided the underlying subject matter of Mr.
 24 Englander’s untruthful statements, but nothing that Mr. Englander did in those
 25
           10
 26          Should the Court determine the applicable guideline range is higher than
    that found in the PSR and set forth here, Mr. Englander submits that the “3553”
 27 factors would still establish that probation is the appropriate sentence and moves the
 28 Court for a variance to a level to allow for a probationary sentence.

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  1 twelve days is itself alleged to be a federal crime; rather, it is simply the subject
  2 matter of the false statements.
  3         Businessperson A had no business dealings ever with Mr. Englander. He did
  4 not solicit Mr. Englander to perform any official acts or provide any official benefits
  5 to him or his businesses (or to provide any official benefits to any third parties). He
  6 did not, to Mr. Englander’s knowledge, even have any business with the City of Los
  7 Angeles.
  8         In August 2017, Businessperson A began “cooperating” with the USAO.11
  9 At the time Businessperson A began cooperating Mr. Englander had not yet been
 10 interviewed by AUSA Jenkins or the FBI.
 11         In the late summer or early fall of 2017, Mr. Englander was contacted by the
 12 FBI, and invited to meet with agents and AUSA Mack Jenkins for a voluntary
 13 interview. Mr. Englander obtained counsel who contacted AUSA Jenkins. Mr.
 14 Englander was described by AUSA Jenkins as a “witness” or “subject” of the
 15 investigation, not a “target.” He was further described as “tangential” to the
 16 investigation. See Levine Decl. ¶ 5.
 17         The interview was set for October 19, 2017. A standard proffer (“Queen for a
 18 Day”) agreement was provided at the first interview session. According to the
 19 discovery provided by the government, shortly before the proffer session,
 20 Businessperson A (then a cooperator) reached out to Mr. Englander to set a meeting
 21 with him. See Levine Decl. ¶ 10
 22
 23
 24
 25
            11
 26          The government indicated that Mr. Englander introduced Businessperson A
    in June 2017 to another businessperson at Businessperson A’s request. The
 27 introduction of one person to another is not a federal crime. See McDonnell v.
 28 United States, 136 S. Ct. 2355, 2371-72 (2016).

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  1        The meeting between Businessperson A and Mr. Englander, which occurred
  2 on October 4, a couple of weeks before Mr. Englander’s proffer, was taped by the
  3 FBI. At that meeting, Businessperson A told Mr. Englander that he had interviewed
  4 with the FBI and told Mr. Englander that he wanted to discuss his interview with
  5 Mr. Englander before Mr. Englander was interviewed. Businessperson A detailed
  6 his purported FBI interview for Mr. Englander, not coincidentally focusing on some
  7 of the topics that were raised later that month by AUSA Jenkins directly in the
  8 FBI/USAO interview of Mr. Englander. Given that Businessperson A was
  9 cooperating, and that the government taped these two meetings, there is every
 10 reason to believe the government directed Businessperson A to raise these topics.
 11        Mr. Englander’s interview session with the FBI and USAO lasted about two
 12 hours. In the interview session, Mr. Englander made false statements.
 13        In early 2018, AUSA Jenkins requested that Mr. Englander return to continue
 14 the interview under the same proffer. According to AUSA Jenkins, the second
 15 session was to better understand areas covered in the first session, about which the
 16 agents were confused. Id. ¶ 6. Discovery indicates that before the second session
 17 occurred, Businessperson A again reached out to Mr. Englander, and again met with
 18 him, secretly taping the conversation. See id. ¶ 11
 19
 20
 21                    Businessperson A directed the conversation to the FBI’s
 22 “investigation,” and directed it to topics that were covered by AUSA Jenkins in the
 23 second session to occur the next day.
 24        On February 7, 2018, the FBI and USAO continued their interview of Mr.
 25 Englander. During that interview, just as during the initial interview session, Mr.
 26 Englander made false statements related to his own conduct at the two June 2017
 27 events, and his meeting with Businessperson A, a meeting monitored by the
 28 government.

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  1        According to discovery, this pattern—an outreach by Businessperson A to
  2 Mr. Englander and a surreptitiously taped meeting between the two in advance of an
  3 interview session—held for the last session of Mr. Englander’s proffer. See id. ¶ 12
  4
  5
  6
  7                          Before each session, Businessperson A reached out to Mr.
  8 Englander and/or arranged to meet Mr. Englander. At each monitored meeting,
  9 Businessperson A volunteered information about questions he purportedly had been
 10 asked by the government or discussions he had had with his lawyer, and discussed
 11 what Mr. Englander should say if he was asked about the same topics. Id. ¶ 13.
 12        In each meeting of his proffer, Mr. Englander truthfully answered questions
 13 about the government’s core corruption investigation; he made false statements
 14 about his personal conduct (that has not been alleged to be a federal criminal
 15 violation) that occurred in June 2017, and his meetings with Businessperson A,
 16 which discovery indicates were monitored by the government.
 17               2.    Mr. Englander’s False Statement Offense is Not Part of the
 18                     Alleged Offenses/Indictment of Mr. Huziar and His Co-
 19                     Defendants
 20        Mr. Englander made his false statements during a set of interviews12
 21 conducted by the same prosecution team that is responsible for the government
 22 bribery and corruption investigation of Mr. Huizar and Mr. Huizar’s acceptance of
 23 money in exchange for official acts. Significantly, Mr. Englander’s false statements
 24
 25        12
             The same proffer agreement covered all three sessions. See Levine Decl. ¶
 26 2. AUSA Mack Jenkins was the responsible AUSA in all three sessions. Id. ¶ 3.
    AUSA Dragalin was present at the last two sessions. Id. FBI Case Agent Andrew
 27 Civetti was present at all three sessions. Id. Before the sessions, AUSA Jenkins
 28 never indicated that Mr. Englander had become a target of the investigation. Id. ¶ 5.

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  1 are unrelated to the Huizar allegations. As the Los Angeles Times observed: “In
  2 some ways, Englander seemed like a politician who had wandered into the middle of
  3 someone else’s corruption probe.”13
  4               3.    Mr. Englander’s Relationships With Businessperson A Did
  5                     Not Involve Any City Business
  6        Mr. Englander met Businessperson A in or about late 2016 or early 2017. Mr.
  7 Englander was impressed by what he believed Businessperson A’s business was: an
  8 environmentally-concerned recycling business. To Mr. Englander’s knowledge,
  9 Businessperson A did not work with the City and had no contracts or sub-contracts
 10 with the City. Businessperson A never asked for any official act from Mr.
 11 Englander. He did not describe himself as a cabinetmaker (or his business as
 12 cabinet-making), nor did he ever indicate that he had any interest in any City-related
 13 businesses or contracts.14
 14               4.    Mr. Englander Has Fully Accepted Responsibility for His
 15                     Conduct
 16        On March 25, 2020, less than a month after first being informed of the
 17 charges, and within weeks of arraignment, Mr. Englander signed a plea agreement.
 18 He entered his guilty plea on July 7, 2020, accepting full responsibility. He has not
 19 minimized his conduct or attempted to blame others. See PSR ¶¶ 39, 75.
 20
 21
           13
 22          David Zahniser & Emily Alpert Reyes, Former L.A. Councilman Mitchell
    Englander pleads guilty in City Hall corruption case, L.A. Times, July 7, 2020,
 23 available at https://lat.ms/38BmPot.
 24       14
             In its Objections to the PSR, the government postulates about things that
 25 “could have” occurred in these meetings between Mr. Englander and
 26 Businessperson A. It also speculates as to how Businessperson A felt. Of course,
    the government had tapes and Businessperson A was working as a cooperator. Had
 27 any corrupt activity beyond false statements occurred, one can be sure that conduct
 28 would have been charged and pursued.

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  1         In his letter to the Court, Mr. Englander takes full responsibility for his
  2 conduct explaining, “I alone am responsible for my actions.” Englander Letter, Ex.
  3 A. He acknowledges: “My destructive actions have caused immense pain for my
  4 wife and daughters, the very people I love the most. My situation has been and will
  5 continue to be publicly humiliating to them. I will feel the pain I have caused my
  6 family long after others have forgotten about my actions.” Id.
  7         Mr. Englander’s family, friends, co-workers, and others with whom he had
  8 interactions in his years of service, write that Mr. Englander appears truly
  9 remorseful. Without minimizing his actions, he has asked for forgiveness from
 10 those he has impacted. John and Julie Carson, Mr. Englander’s uncle and aunt by
 11 marriage, write: “Mitch is aware of the gravity of his actions with respect to the
 12 events that are at issue and deeply regrets his lapses in judgment that brought him to
 13 this place. Mitch acknowledges his wrongdoing. He has spent the past months
 14 thinking about and healing from the shock of his situation. In our conversations
 15 with Mitch he appears humbled and apologetic . . .” Support Letters, Ex. B-6.
 16         Lawrence Bavaro, an LAPD Sergeant with whom Mr. Englander worked
 17 during his service as a Reserve Police Officer, echoes this opinion: “I had a long and
 18 emotional conversation with Mitch over his court case. The first thing he told me
 19 was he made a mistake and he is taking full responsibility for it. He apologized to
 20 me for his actions and asked me for forgiveness, which I gave him. Mitch made a
 21 mistake, which he regrets, and is taking ownership of it.” Support Letters, Ex. D-3.
 22         Bernard Khalili, a fellow Reserve Officer and Los Angeles business owner,
 23 confirms the same sentiment: “He has shown extensive and genuine remorse for his
 24 mistake, demonstrating that he understands the gravity of his actions . . . He has lost
 25 his job, he has lost his reserve officer status—one of his most important
 26 accomplishments— and he experiences shame on behalf of himself and his family’s
 27 reputation and will have to live with this heavy burden for the foreseeable future.”
 28 Support Letters, Ex. D-5. See also PSR ¶ 39.

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  1 sometimes staying for weeks at a time. See Support Letter from M. Schwartz, Ex.
  2 C-1; discussed, infra, at p. 17.
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 12        As challenging as his home life was, Mr. Englander’s extraordinary early
 13 challenges extended beyond his dysfunctional home. When Mr. Englander was
 14 about six years old he developed a rare eye disease, vernal conjunctivitis, which
 15 caused bumps to develop on the inside of his eyelids that scratched his corneas
 16 while he slept. Because it was difficult to diagnose, Mr. Englander suffered with the
 17 condition for several formative years. On bad days, the condition was incredibly
 18 painful, and some mornings he could not open his eyes or walk to school without his
 19 brother’s assistance.
 20        Because of the vision problems created by his eye condition, Mr. Englander
 21 struggled academically and was placed in Special Education in the third grade and
 22 transferred to a different school. Even though his eye condition had mostly resolved
 23 by the time Mr. Englander completed fifth grade, the school failed to recognize that
 24 the physical ailment was the sole cause of his early academic problems. Mr.
 25 Englander did not return to his original school or to mainstream classes and was
 26 kept in special education classes through the sixth grade. PSR ¶ 86.
 27        Community volunteers and dedicated public servants provided a lifeline for
 28 Mr. Englander, and became role models, which Mr. Englander needed to prepare for

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  1 the well-adjusted and pro-social life he was to lead. When Mr. Englander was seven
  2 years old, his mother signed him up with the Jewish Big Brothers program. Two
  3 years later, the organization assigned Mr. Englander a Big Brother, Ed Krug. Mr.
  4 Krug had a significant positive impact on Mr. Englander’s development and the two
  5 spent hours together every other weekend for about two years. As Mr. Krug writes
  6 to the Court: “We went to amusement parks, museums, ball games, and the Mall . . .
  7 During that time Mitch and I developed a very close relationship. He was a sweet,
  8 kindhearted kid.” Support Letters, Ex. C-3. The two lost touch after Mr. Krug
  9 moved to the East Coast in 1986, but they reconnected in 2009 and Mr. Krug was
 10 impressed to learn about Mr. Englander’s public service and charity work,
 11 explaining to the Court: “I know he [Mr. Englander] took great pride in giving back
 12 and accomplished many important and worthwhile endeavors.” Id. Mr. Englander
 13 credits Mr. Krug for being a role model of a father and a husband.
 14        Mr. Englander also benefited from the generosity of friends, finding safety,
 15 security, and refuge in the home of his childhood best friend, Mark Hunter
 16 (originally Schwartz) and Dr. Hunter’s family. Mr. Englander and Dr. Hunter were
 17 originally introduced by their sisters and were inseparable for much of their
 18 adolescence. Mr. Englander regularly ate meals with Dr. Hunter’s family and slept
 19 over for days and sometimes weeks at a time. Dr. Hunter’s mother, a retired
 20 elementary school teacher, writes to the Court: “During particular[ly] rocky times,
 21 Mitch would stay for days and even weeks. When things at home became
 22 unbearable, he moved in. He was witty, intelligent, kind, humble and appreciative
 23 and as such his presence was an asset to our home and our family.” Support Letters,
 24 Ex. C-1. From the Schwartzes, Mr. Englander learned about a positive and loving
 25 family life and about the joy of caring for others in need by sharing what you have.
 26
 27
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  1               2.    Mr. Englander Possesses an Industrious Spirit and Began
  2                     Working at a Young Age
  3        Due to his family’s acute financial struggles, Mr. Englander began selling
  4 bulk candy door-to-door when he was nine years old, using the money to buy
  5 groceries. When he was 11, he would borrow a neighbor’s lawnmower and knock
  6 on doors offering to mow lawns. When he turned 14, he began working for a
  7 janitorial service owned by his late uncle, Michael Englander, eventually working
  8 his way up to a full-time position. As a teenager, Mr. Englander cleaned floors and
  9 toilets and functioned as an informal operations manager, working 7 p.m. to 3 a.m.
 10 five to six days a week. Because Mr. Englander was working full-time, he arranged
 11 to complete high school at Miguel Leonis Continuation High School in Woodland
 12 Hills, where he could take classes in the mornings and work at night. The principal,
 13 Odus Caldwell, recognized Mr. Englander’s drive and intelligence and served as a
 14 mentor and role model to him, much like Mr. Krug had done previously.18
 15        After graduating high school, Mr. Englander moved to Arizona with Dr.
 16 Hunter to start a janitorial and carpet cleaning business. His brother Andrew had
 17 already moved there and was a proponent of the lower cost of living. Within weeks
 18 of moving to Arizona, Mr. Englander was injured in a serious car accident and was
 19 referred to a chiropractor. Turning his misfortune into a lifelong good fortune, he
 20 met the chiropractor’s receptionist, Jayne Schulte, began dating, and soon became
 21 serious. Mitchell and Jayne married in 1993. See Support Letter from J. Englander,
 22 Ex. B-1.
 23
 24
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 26        18
             After graduating from Miguel Leonis in June of 1988, Mr. Englander
 27 founded the Miguel Leonis Achievement Scholarship, which he spearheaded for
 28 several years.

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  1                 3.    Mr. and Mrs. Englander Devoted Their Young Adult Years
  2                       to Building Family, Building Community, and Performing
  3                       Good Works In The Community
  4          After a couple of years in Arizona, Mr. Englander returned to Los Angeles to
  5 care for his mother, Linda,
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  9
 10          Mr. Englander suffered another traumatic family medical issue a few years
 11 later.
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 18          Also in 1994, Mr. Englander’s maternal uncle, Michael Englander, for whom
 19 Mr. Englander had worked in his high school years at Michael’s janitorial company,
 20 was murdered by four young gang members in a parking lot as he was leaving a
 21 book store, apparently as part of a gang initiation rite. His uncle’s murder had a
 22 deep and lasting impact on Mr. Englander; it motivated Mr. Englander to apply for
 23 and eventually become an LAPD Reserve Police Officer and to serve the
 24 community for over ten years in that role. See Section IV(C)(3)(c), infra.19
 25
             19
 26          This felony conviction required Mr. Englander to resign from the force (he
    resigned immediately after being charged). This loss of his right to serve as a
 27 reservist is a real loss to Mr. Englander. He reveled in his role as a reservist,
 28 especially when called to visit public schools.

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  1                      (a)   Mr. Englander as a Family Man
  2         Mitchell and Jayne have been married for 27 years; they have two daughters.
  3 The Englanders renew their marriage vows every five years, in the presence of their
  4 daughters, reaffirming their commitment to each other and their family.
  5         That family unit has not been without difficult times. The loss of loved
  6 family members in senseless deaths is detailed above.
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 14         Mr. Englander’s commitment to his family is deep and unwavering. Mr.
 15 Englander’s wife, Jayne, writes: “As a family man, [Mitch] loved to include his
 16 daughters in volunteering. Nearly every weekend, there was an activity from
 17 serving meals to seniors to devoting our family time during the holidays to passing
 18 out toys to less fortunate children or merely cleaning up graffiti in the neighborhood.
 19 And yet, he never missed a single dance recital, volleyball game, or school play for
 20 the girls . . . There was a reason Mitch’s personal proudest achievement was when
 21 The National Father’s Day Council nominated him and awarded Father of The Year
 22 in 2006.” Support Letter, Ex. B-1.
 23         Support letters describe the Englander family. John and Julie Carson (Mrs.
 24 Englander’s uncle and aunt), write: “As a family man, Mitch is dedicated, loving,
 25 and self-sacrificing. He is very proud of his wife Jayne. He likes to express his
 26 admiration for Jayne by saying ‘I married up’. . . . Their family unit is one to be
 27 admired. They love and support each other, and love being with each other.”
 28 Support Letters, Ex. B-6. Former staff member Douglas Tripp observed Mr.

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  1                     (b)    Mr. Englander’s Community Involvement and Public
  2                            Service Are Deep, Substantial, and Significant
  3        After caring for his mother and upon her death, in 1990, Mr. Englander’s
  4 maternal uncle, Harvey Englander, offered Mr. Englander a position at his public
  5 relations firm, Campaign Management, Inc., and Mr. Englander accepted it. This
  6 deepened Mr. Englander’s interest in politics and public service, and launched Mr.
  7 Englander’s career in public service.
  8        At Campaign Management, Inc., Mr. Englander focused on public and
  9 government affairs, learning the field hands-on.21 While there, he learned the “art”
 10 of charitable fund-raising and Mr. Englander, along with his uncle Harvey
 11 Englander, co-founded the Los Angeles Political Roast, described above,
 12                                                       Mr. Englander’s Roast co-
 13 founder, Mr. Berghoff, explains: “[Mr. Englander] cares and is willing to help others
 14 often at great sacrifice to himself. There is no doubt that the Roast has become so
 15 successful because of Mitch’s hard work and dedication.” Support Letters, Ex. F-4.
 16        Mr. Englander’s commitment to charity (and the unglamorous fundraising)
 17 continued; he has devoted time and energy to numerous charitable organizations.
 18 Mr. Englander has been a supporter of The Nicole Parker Foundation for Children,
 19 an organization that seeks to address and eradicate child abuse. The Foundation is
 20 run by Mr. Englander’s long-time friend and fellow police reservist, Travis Parker,
 21 whose sister was murdered at eight years old, and in whose honor the organization
 22 was founded. Mr. Parker explains: “Over the years, Mitch has devoted countless
 23 hours to the Foundation and has personally and professionally played an integral
 24 part in the success of the Foundation—particularly the children’s rooms the
 25
 26        21
             While Mr. Englander attended some college, he never completed a degree,
 27 instead focusing on work and family obligations, as well as community/public
 28 service.

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  1 Foundation have built or remodeled in approximately a dozen police stations across
  2 Los Angeles County. Children’s rooms provide a space in police station(s) where
  3 children can feel safe after witnessing or surviving traumatic events.” Support
  4 Letters, Ex. F-1.
  5        Mr. Englander worked with the North Valley Family YMCA at Porter Ranch,
  6 serving on and chairing multiple committees. In 2008, Mr. Englander was elected
  7 by the Board to be the Board of Managers Chair, serving in that role until 2010 and
  8 leading the YMCA Capital Campaign to expand the facility by adding additional
  9 buildings and a warm water pool for seniors. In 2010, Mr. Englander received the
 10 YMCA Lifetime Achievement Award, having helped to raise over $1.1 million for
 11 “The Kids At The Y” program. Support Letter from J. Stanton, Ex. F-3.
 12        Through the San Fernando Valley Chapter of the Junior Chamber of
 13 Commerce (Jaycees) and the Los Angeles Police Department Devonshire Policy
 14 Activity League (PALS), Mr. Englander raised funds—and awareness—to help
 15 youth in need. On the Jaycees Board, Mr. Englander organized the annual Jaycees
 16 Gala, which honored members of the organization. Victoria Bourdas Martinez, who
 17 worked with Mr. Englander on the Board, writes: “We planned the events from start
 18 to finish—date, theme, invitations, program, and award recipients. Mitchell was
 19 passionate about our gala each year. He was instrumental in researching alumni
 20 members and their community involvement.” Support Letters, Ex. F-5. On the
 21 PALS Board, Mr. Englander raised funds to build the current youth center, create an
 22 outdoor playground and soccer field, and organize the program that serves youth 7-
 23 17 years old. Ms. Martinez, who also served with Mr. Englander on the PALS
 24 Board, writes: “Mitchell worked tirelessly to get us in front of community members
 25 and organizations so that we could tell our story and get others to assist us. Being in
 26 City Council, he was able to educate other elected officials on the importance of
 27 local youth programming.” Id.
 28

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  1        Through these organizations, and the causes they champion, Mr. Englander
  2 has been able to help children who need community and support, and sometimes just
  3 a safe place to go, like he once did.
  4                     (c)    Mr. Englander’s Service as a Reserve LAPD Officer
  5        Overwhelmed by the senseless killing of his uncle, Mr. Englander decided to
  6 serve in law enforcement. He began applying to be an LAPD Reserve Officer in
  7 1998, an unpaid but demanding position. Because of the rigorous physical
  8 requirements, and a recent spinal surgery, Mr. Englander was rejected for service
  9 several times. He trained and rehabilitated his spine and was finally accepted into
 10 the Police Academy in 2005.
 11        Reservists go through training and background checks like all full-time
 12 recruits. He graduated at the top of his class and served over 10 years as an LAPD
 13 Reserve Officer. Reserve Officers are required to complete at least 13 two-day
 14 deployments yearly (he did much more); Mr. Englander was eventually assigned to
 15 the Gangs & Narcotics Division—Fugitive Warrants. His unpaid service was
 16 significant (and ended only when he resigned after he was charged in this case).
 17        Mark Blizzard, a 30-year veteran of the LAPD, writes: “When Mitch
 18 Englander was appointed to the City Council (CD12), [h]e never stopped doing his
 19 Reserve Duties along with supporting the [ ] Volunteer Units. He was always there
 20 for them and was always willing to support any training for them and the Officers.
 21 He was always about public safety for all citizens in the community.” Support
 22 Letters, Ex. D-1.
 23        Mr. Englander’s service is also lauded in letters from his LAPD supervisor
 24 and fellow Reserve Officers. Lawrence Bavaro, an LAPD Sergeant-II, writes: “[Mr.
 25 Englander] has personally done a lot for his community and for the Officers and
 26 Volunteers here at Devonshire Division. Mitch has volunteered for numerous
 27 worthy charitable organizations, such as Supporters Of Law Enforcement in
 28 Devonshire (S.O.L.I.D.) which raises money to support Devonshire, and our Police

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  1 Athletics League Supporters (PALS) where he was an executive board member, and
  2 was instrumental in raising funds to build the PALS center for after school care of
  3 our community youth.” Support Letters, Ex. D-3.
  4        Bernard Khalili, a fellow Reserve Officer, recalls: “[I]n one instance when
  5 working with Mitch, we were experiencing radio miscommunications and could not
  6 adequately work with the LAFD. When we realized that there was a huge
  7 communication issue between departments, he took it upon himself to personally
  8 research how to resolve this issue and later as a city councilman, he enacted radio
  9 reforms where we could effectively and efficiently entertain inter-agency
 10 communication—a critical contribution that in my estimate, has saved hundreds of
 11 lives.” Support Letters, Ex. D-5.
 12        Paul H. Burleigh, an attorney with whom Mr. Englander worked for the
 13 nonprofit California Emergency Mobile Patrol (“CEMP”), which supports LAPD
 14 efforts, writes: “As a non-profit, CEMP relies entirely on donations to fund its
 15 operating expenses, purchase vehicles and equipment, and keep its medical supplies
 16 current so that CEMP can continue to function in a ‘mission ready’ status. CEMP
 17 worked extensively with Mr. Englander in support of his efforts to highlight the
 18 benefits of CEMP and to secure funding to assist with some it its operational needs .
 19 . . As a result of Mr. Englander’s efforts, the city council was educated about the
 20 services that CEMP provides to LAPD. The council recognized the value those
 21 services had for the community and arranged to provide some financial support for
 22 CEMP that allowed it to address some of its equipment and vehicle needs and to
 23 become better equipped to handle the challenges of a search [and] rescue team, and
 24 make it an even more valuable resource to the LAPD and the community.” Support
 25 Letters, Ex. D-6.
 26
 27
 28

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  1               4.     Mr. Englander’s Service as the Chief of Staff to a Council
  2                      Member and as a Council Member Enhanced the City of Los
  3                      Angeles
  4                      (a)   Work as Chief of Staff for the 12th Council District
  5         In 2001, after Mr. Englander had worked for about a decade in public
  6 relations, Greig Smith, also an LAPD Reserve Officer, and then a City Council
  7 candidate for the 12th District (the area where Mr. Englander grew up), offered Mr.
  8 Englander a position as his Campaign Manager. Mr. Englander accepted. When
  9 Mr. Smith was elected, Mr. Englander became his Chief of Staff, a position that
 10 enabled him to serve his City and follow his passion of volunteerism, while
 11 providing the stability and more regular hours to actively participate in raising his
 12 family.
 13         While serving as Mr. Smith’s Chief of Staff, Mr. Englander focused on
 14 community projects that benefited those in need—both inside and outside Mr.
 15 Smith’s District. Because of his own traumatic youth and life experiences, these
 16 were the type of projects and programs that Mr. Englander could envision making a
 17 real difference in the lives of other youths from similar backgrounds.
 18         In 2007, Mr. Englander co-chaired an effort to raise money for the PALS
 19 Youth Center—a state-of-the-art facility in Park Parthenia, one of the highest crime
 20 areas in the San Fernando Valley. Mr. Englander and others raised millions of
 21 dollars and negotiated a long-term lease of the land for $1 annually. The PALS
 22 board honored Mr. Englander’s role in the project by naming the outdoor sports
 23 court “Englander Field.” Laine Caspi, a business owner and community activist
 24 who served on the PALS executive board, writes to the Court: “Largely due to
 25 Mitch’s involvement in PALS, we have what is widely considered to be the best
 26 center in California. Two years ago, we had our first PALS kid get accepted to
 27 Harvard! On top of that, we have kids that go to UCLA, Berkeley, CSUN, you
 28

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  1 scene of the collision, on his way to pick up his children from school, and changed
  2 course; he had his wife pick up the kids and he raced to the crash site and began
  3 assisting immediately, jumping a chain-link fence to start pulling victims out of the
  4 train, many of whom were dead or missing body parts. Former staff member Millie
  5 Jones, who was also at the scene, writes: “As I watched in shock at the first
  6 responders bringing bodies off the train, I noticed a man in business attire with his
  7 sleeves rolled up and wearing gloves, as he helped retrieve bodies. When he turned
  8 to the side, I realized it was Mitch Englander.” Support Letters, Ex. E-1. Reverend
  9 Spencer T. Kezios, the Chaplain for the Los Angeles Police Department, who was
 10 also at the scene, recalls: “I watched him do what no other civilian volunteered to
 11 offer for that heart wrenching duty: removing bodies and body parts from the first
 12 passenger car.” Support Letters, Ex. D-4.
 13        Mr. Englander stayed at the crash site all night, setting up a makeshift
 14 morgue, helping as needed, and praying with one victim’s father. Ten years later,
 15 Mr. Englander organized and attended an anniversary memorial/remembrance
 16 service to remember the 25 dead and to recognize those who were injured. Ms.
 17 Jones attended the service and explains: “His deep compassion and sincerity when
 18 he spoke to the families of the victims and the survivors brought a sense of peace
 19 and reassurance to all of us.” Support Letters, Ex. E-1.23
 20        Mr. Englander also assisted during the Sayre Fire in 2008, helping hundreds
 21 of people evacuate and saving one home by jumping on the roof with a garden hose
 22 to attack the approaching flames. Mr. Englander’s younger daughter recalls the
 23 gratitude of those in the community: “Once, while eating at a local restaurant, a
 24 couple walked up to our table and said, ‘Hey, we recognize you. You are the police
 25
 26
 27        23
           Reverend Kezios spoke at the remembrance, including about Mr.
 28 Englander’s contribution. See https://youtu.be/UpLrCGuuhlo (beginning at 2:35).

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  1 officer who saved our home with a garden hose when it was on fire!’” Support
  2 Letters, Ex. B-3.24
  3                       (b)   Providing a Role Model for Those With Whom He
  4                             Worked
  5        As Mr. Smith’s Chief of Staff, Mr. Englander oversaw a team of City staffers
  6 working on legislative affairs and community outreach. Mr. Englander, having
  7 come from a challenging background, and having benefited from being provided
  8 opportunities to grow and achieve, made every effort to hire, train, and supervise
  9 staff members in a way that would provide them opportunities for personal and
 10 professional development.
 11        When Mr. Englander became a City Councilmember, he continued to seek out
 12 staff members for whom the opportunity could make a meaningful impact, and he
 13 remained deeply loyal to his staffers. For example, in 2013, Mr. Englander hired
 14 Millie Jones, who had previously worked for Supervisor Antonovich. At the time,
 15 Ms. Jones was 66 years old and had spent the prior year out of the workforce,
 16
 17          Ms. Jones writes to the Court: “Not many elected officials will hire a 66-
 18 year old aging lady, when they can hire young, energetic people, willing to work
 19 long, demanding hours. But Mitch and I had worked in close cooperation for our
 20 separate officials, and he was familiar with my background and knowledge of the
 21 community.” Support Letters, Ex. E-1.
 22        Mr. Englander also hired Katherine Lettieri, a single mother of three
 23                                   . Ms. Lettieri writes: “Mitch took a chance and
 24
 25        24
             And his work continued when he served on the City Council. For example,
 26 during the Aliso Canyon Gas Leak, the largest in United States history, Mr.
    Englander helped secure temporary housing for over 20,000 community members
 27 who were displaced from their homes. Support Letter from B. Breckenridge, Ex. E-
 28 5.

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  1 hired me to work on his staff when there were plenty of more qualified candidates
  2 and [he] was fully aware of my situation at the time.” Support Letters, Ex. E-2.
  3        When Mr. Englander’s driver had his license suspended for driving under the
  4 influence after just a short time on the job, Mr. Englander made certain he did not
  5 lose his job, assigning him other work and doing without a driver—a major
  6 inconvenience given the long commute from the Valley to City Hall (time Mr.
  7 Englander would use to work). See PSR ¶ 75.
  8        Mr. Englander maintained close relationships with his staff members, inviting
  9 them into his home and taking a sincere interest in their lives. As Ms. Jones
 10 explains: “He and Jayne graciously opened their home to his Council District 12
 11 staff on many occasions to share in camaraderie and warm fellowship. They both
 12 treated us like family and stayed connected in our lives. I recall many times when
 13 Mitch rushed to a hospital to visit a member of the community, sit with the family,
 14 or go to funerals.” Support Letters, Ex. E-1. As evidenced by their letters to this
 15 Court, Mr. Englander’s former staffers remain supportive.
 16               5.    Mr. Englander’s City Council Service Had a Positive Impact
 17        Mr. Englander served for seven and a half years on the Los Angeles City
 18 Council. He held positions on eight different committees committed to addressing
 19 public safety and police reform. Mr. Englander’s accomplishments on the City
 20 Council include his work toward:
 21       Reconstructing the San Fernando Valley Rescue Mission, pushing the effort
 22        to build a state-of-art homeless shelter with 180 beds after the original
 23        building burned down in 2014.25
 24
 25        25
            Former staff member Bree Breckenridge writes: “[W]ith Mitch’s guidance,
 26 we partnered with the San Fernando Valley Rescue Mission, a non-profit
    organization that offers resources, support, and dignity to people experiencing
 27 homelessness, and started a mobile fundraising campaign for their Rescue SOS
 28 program. In total, we were able to raise over $26,000.00 in community funds to

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  1        Launching Operation Equal Access, a program designed to provide
  2         underprivileged children access to free computers by refurbishing donated
  3         computer equipment;
  4        Developing the Fire Stat program in 2014, a first of its kind in the nation,
  5         which was created to improve Fire Department response times and bring
  6         much needed transparency to the Fire Department;26
  7        Leading the effort to require body-worn cameras for police officers in Los
  8         Angeles, the first major city to do so, and in the face of considerable
  9         opposition;27 and
 10        Participating in launching the Feed-in Tariff Program, the largest clean energy
 11         initiative in California, generating local renewable energy capacity through a
 12         public-private partnership.28
 13
      purchase a new state-of-the art mobile shower.” Support Letters, Ex. E-5.
 14
            26
 15            Mr. Englander and his team created a publicly accessible web-based portal
      to track emergency room admissions and response times, which ultimately revealed
 16   that certain Los Angeles residents were using emergency room services in
 17   disproportionate numbers. Based on this data, Mr. Englander helped to create a
      pilot program, the “Nurse Practitioner Unit,” which helped replace ER care with
 18   home visits, thereby conserving hospital resources. The Nurse Practitioner Unit is
 19   now the largest of its kind. See https://www.lafd.org/news/lafd-chief-terrazas-
      announces-launch-firestatla-and-online-publication-response-data. Once the NPU
 20   was in place, Mr. Englander and a team created a Rapid Response Unit allowing
 21   paramedics in smaller vehicles and on motorcycles to access patients in outlying,
      hilly areas.
 22
            27
             Former staff member Douglas Tripp explains: “Mitchell was the architect
 23 of the plan that brought body-worn cameras to LAPD, making Los Angeles the first
 24 major city to require them. Today, body-worn cameras just make sense. However,
    seven years ago when he started his campaign for them it took brilliant strategy,
 25 dogged determination, and persuasive advocacy to do what he knew was right and
 26 convince others to be visionary alongside him.” Support Letters, Ex. E-3.
 27         28
            See Feed-in Tariff (FiT) Program, Los Angeles Department of Water and
 28 Power, available at https://bit.ly/2KJJk1k. The program, which required

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  1               6.     Support Letters Provide a Fulsome View of Mr. Englander’s
  2                      Lifetime of Hard Work and Service
  3        Mr. Englander’s family, friends, and colleagues submitted many support
  4 letters (over 30 of which are attached for the Court’s review) attesting to Mr.
  5 Englander’s character and dedication to family and public service. These letters,
  6 categorized by topic as Family; Childhood; LAPD Reserve Service; Co-Workers;
  7 Community Service and Charity Work; and Neighbors and Friends, provide a robust
  8 picture of Mr. Englander’s character, his challenging early life, his life of public
  9 service, and his genuine remorse for his crime.
 10        Harvey Englander, Mr. Englander’s uncle, writes: “Mitch gave up a lucrative
 11 career in public relations and public affairs to become Councilman Greig Smith’s
 12 Chief of Staff so he can spend more time helping people in need . . .” Support
 13 Letters, Ex. B-5. Adam Englander, Mr. Englander’s cousin, tied Mr. Englander’s
 14 commitment to public service to his challenging upbringing: “Mitch has taken the
 15 pain [of his childhood] and channeled it into helping others. He has given his life to
 16 public service over the past two decades and has really fought to do good.” Support
 17 Letters, Ex. B-7.
 18        Mr. Englander’s professional contacts concurred. Mark Blizzard, a 30-year
 19 veteran of the LAPD under whom Mr. Englander worked as a Reserve Officer,
 20 writes to the Court: “Mitch Englander was very involved with all the Volunteer
 21 Units that I was in charge of (Volunteer Surveillance Team, Volunteer Community
 22 Patrol, Volunteer Mounted Patrol, Volunteer Bike Patrol, CEMP, CPAB and
 23 PALS). He worked alongside with all these units and supported them in all their
 24
 25 coordination between the Sierra Club, the Clean Air Coalition, the Los Angeles
 26 Chamber of Commerce, and the Los Angeles Business Council, among others, now
    has the most solar installations of any city in the country. Mr. Englander has been
 27 passionate about clean air since he grew up with third-stage smog alerts
 28

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  1 activities. I honestly was amazed at how much time and effort Mitch Englander
  2 gave to all these Units and individuals that were volunteering their time to these
  3 units.” Support Letters, Ex. D-1. Sergeant-II Lawrence Bavaro, another LAPD
  4 officer with whom Mr. Englander worked, emphasized his focus on charity work:
  5 “[Mr. Englander] was instrumental in setting up and funding our Voluntary
  6 Community Patrol program, which has now expanded to Topanga Division and is
  7 being modeled to expand city wide. He has provided grants to get very needed
  8 equipment for Devonshire Division such as storage sheds, cargo trailer, equipment
  9 for our Cadet program and a needed remodeling of our Rollcall Room, Break Room,
 10 Watch Commander’s office and the front desk. Mitch continually demonstrates he
 11 is a man of character and integrity.” Support Letters, Ex. D-3.
 12        The letters to this Court reflect on Mr. Englander’s character: A public
 13 service-focused family man who doesn’t give up. Mr. Englander propelled himself
 14 to do better—for himself and the family he built and for his community. He hasn’t
 15 ever surrendered from a challenge, and he is committed to continuing his service to
 16 his family and his community, even with the new challenge of a felony conviction.
 17        D.     A Probation Sentence Provides Respect For The Law; It Will
 18               Achieve Justice
 19               1.    Proper Respect For The Law
 20        As the PSR recognizes, a probationary sentence adequately considers the
 21 seriousness of Mr. Englander’s offense, demonstrates respect for the law, and exacts
 22 just punishment. See Dkt. No. 39 at pp. 2-4. As the PSR recommendation letter
 23 states, a custody sentence would be “aberrant” given Mr. Englander’s background
 24 and the offense. Id. at p. 3. Mr. Englander clearly understands the seriousness of
 25 his offense. Indeed, when faced with his illegal conduct, Mr. Englander
 26 immediately accepted full responsibility and pled guilty. He has publicly and
 27 privately acknowledged his wrongdoing (see PSR ¶¶ 39, 75) and has taken all steps
 28 to move forward, to try to reclaim and remake his life.

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  1               2.     Mr. Englander Presents No Risk of Recidivism
  2         Mr. Englander is 50 years old and this is his first offense. He has lived a life
  3 and career otherwise dedicated to upholding the law and promoting public
  4 institutions. Indeed, he served as an LAPD reservist for 13 years, volunteering his
  5 time because of his belief in the value of law enforcement. He poses no risk of
  6 recidivism. See Dkt. No. 39 at p. 3 (“The instant offense notwithstanding, much of
  7 [Mr.] Englander’s life has evidenced great respect for the law.”) The support letters
  8 submitted on Mr. Englander’s behalf attest to the genuineness of Mr. Englander’s
  9 remorse and his clear commitment to lead a life within the law. As Mr. Burleigh
 10 writes: “Mr. Englander made a mistake that ended his career in politics, shattered
 11 his confidence in himself, and alienated his constituents and many of his supporters.
 12 It had a profound impact on his marriage and his public persona, as well as the life
 13 he was accustomed to. He is forever branded which will affect certain aspects of his
 14 life until the day he dies . . . Regardless of the outcome [of this case], I am confident
 15 that Mr. Englander is a better person and will conduct himself morally, ethically and
 16 lawfully in whatever he is tasked with in the future.” Support Letters, Ex. D-6.
 17         Mr. Englander can and will continue to contribute to society, as he has done
 18 for his entire adult life, and is motivated to never be involved in the criminal justice
 19 system again. Mr. Englander has none of the factors that increase the risk of
 20 recidivism and all of the factors that decrease the risk of recidivism.
 21                      (a)    Deterrence – Specific and General
 22         Mr. Englander does not require a sentence of imprisonment to deter him from
 23 engaging in criminal conduct in the future. Over the past approximately 10 months,
 24 Mr. Englander and his family have watched—at times, quite literally on the news—
 25 their lives turned upside down. Mr. Englander’s consulting business, which was
 26 premised on his political relationships, has been severely compromised and his
 27 reputation has been forever tarnished. His fall from grace has been documented in
 28 detail under the glare of public scrutiny and media coverage. He will forever be a

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  1 “felon” and that will impact him daily. These collateral consequences have had a
  2 tremendous deterrent effect on Mr. Englander personally and serve as a warning for
  3 anyone who might consider committing similar offenses. Mr. Englander has also
  4 shown he is amenable to supervision in a non-custodial setting, as he has fully
  5 complied with the terms of his pretrial release for nearly a year without incident.
  6 See PSR ¶ 4. No one who sees the impact of Mr. Englander’s conviction on his life
  7 can ever doubt that he has been punished for what he did.
  8                      (b)    Protection of the Public
  9         Mr. Englander is not a danger to the public. His crime was non-violent and
 10 caused no physical or financial harm. Mr. Englander is 50 years old; except for the
 11 conduct at issue in this case, he has lived an exemplary life, winning the respect of
 12 his peers and community. Mr. Englander has no other criminal history and, in fact,
 13 has a long history of devoting his personal, professional, and volunteer life to
 14 upholding the law. Mr. Englander need not be imprisoned in order to protect the
 15 public.29 The criminal conduct at issue here was isolated. Mr. Englander’s past
 16 shows his law-abiding nature.
 17                3.    Probation Provides Just Punishment
 18         The severity of a probation sentence should not be underestimated. As the
 19 Supreme Court recognized, probation is not an act of “leniency”; rather “[o]ffenders
 20 on probation are [ ] subject to several standard conditions that substantially restrict
 21
 22
 23         29
               As the PSR recognizes, “[a] custodial term would be aberrant for other
 24   defendants facing a similar guidelines range with a background like Englander’s.”
      Dkt. No. 39 at p. 3. There is simply no reason for an aberrant or disparate sentence
 25   here. Indeed, the Bureau of Justice Statistics indicates that for the years 2014-2016
 26   (the most recent years for which data is available), a clear majority of defendants
      convicted of violating § 1001 received non-custodial sentences. See Bureau of
 27   Justice Statistics, Federal Criminal Case Processing Statistics, available at
 28   https://www.bjs.gov/fjsrc/tsec.cfm.

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  1 their liberty.” Gall v. United States, 552 U.S. 38, 48 & n.4 (2007). Certainly Mr.
  2 Englander would be under court supervision and restrictions for a period of time.
  3         Additionally, the public opprobrium of a felony conviction, particularly for a
  4 public person who worked so hard to earn the respect of those around him, cannot
  5 be underestimated. As the letters to the Court reveal, Mr. Englander is deeply
  6 ashamed of his conduct; he has gone so far as to discard his recognitions, plaques,
  7 and tributes, feeling that his conduct shows he does not deserve the praise he was
  8 once given. Support Letter from L. Englander, Ex. B-3.
  9         And Mr. Englander has certainly already lost the life and the livelihood he
 10 worked so hard, against all odds, to achieve. See PSR ¶ 90. His reputation is
 11 tarnished, and he will need to find a new way to support himself and his family. See
 12 United States v. Whitmore, 35 F. App’x 307, 322 (9th Cir. 2002) (affirming district
 13 court’s finding that destruction of one’s “professional capacity and ordinary
 14 livelihood constituted a pretty serious punishment already inflicted . . . and one
 15 that’s likely to be permanent.”) (internal citations omitted). Mr. Englander has been
 16 and will forever be punished for his wrongful conduct. As the USPO’s sentencing
 17 recommendation observes, “[Mr.] Englander, who has lived comfortably, will likely
 18 have continued difficulty generating the type of income he was used to earning, and
 19 will almost certainly never hold elected office again.” Dkt. No. 39 at p. 3.
 20 VII. CONCLUSION
 21         Mr. Englander’s life history demonstrates his all-in investment in “doing the
 22 right thing” and contributing to his family and his community. While he committed
 23 the crime at issue here, he has been and will be sufficiently punished by a felony
 24 conviction and a probation sentence. This Court can be confident that Mr.
 25 Englander has learned from his actions, that he has been punished, and that he will
 26 not reoffend. For the reasons stated above and in the PSR, Mr. Englander asks this
 27
 28

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